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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

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IN RE: Prevagen Products Marketing
and Sales Practices Litigation
                                                             MDL No. 2783
Federal Trade Commission and the
People of the State of New York v.
Quincy Bioscience Holding Co. et al.
No. 1:17-cv-00124-LLS
(S.D.N.Y. Filed Jan. 9, 2017)
___________________________________


                  PLAINTIFFS FEDERAL TRADE COMMSSION
                AND THE PEOPLE OF THE STATE OF NEW YORK
           JOINT RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION
            FOR TRANSFER OF ACTIONS PURSUANT TO 28 U.S.C. § 1407


       Plaintiffs Federal Trade Commission (“FTC”) and the People of the State of New York

by the Attorney General of New York (“NYAG”) respectfully submit this opposition to the

Motion for Transfer of Actions to the Southern District of New York Pursuant to 28 U.S.C. §

1407 For Coordinated or Consolidated Pretrial Proceedings (“Motion for Transfer”), filed by

Defendants Quincy Bioscience Holding Company, Inc., Quincy Bioscience, LLC, Prevagen,

Inc., d/b/a/ Sugar River Supplements, Quincy Bioscience Manufacturing, LLC, Mark

Underwood, and Michael Beaman (“Petitioners” or “Defendants”), to the extent that it seeks

consolidation of the governmental enforcement action with three private actions. Formal pretrial

coordination of the governmental enforcement action with the other actions under Section 1407

is neither necessary nor warranted to avoid duplicative discovery or prevent inconsistent court

rulings. Centralization under Section 1407 is a “last solution,” and the Panel has consistently



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favored informal cooperation when feasible. The burden to justify centralization is particularly

high when there are a small number of actions. Petitioners have not met that burden.

        Here the fundamentally different nature of the government action from the three private

actions weighs strongly against centralization. The FTC/NYAG case is a law enforcement action

brought to advance the public interest at large and as such fundamentally differs from the three

putative class actions. The private actions are brought under numerous and divergent federal and

state statutes that vary in purpose, scope, burdens of proof, and remedies from the government

action. In addition, consistency in class certification rulings – one of the primary reasons to

centralize – is not an issue in the government action and will likely delay resolution of the

government’s claims. Finally, the actions are at significantly different procedural stages,

reducing the likelihood that there will be significant overlap in discovery.

        To the extent that there are issues that warrant coordination, for example to accommodate

any areas of common discovery, informal cooperation is both feasible and preferable. However,

while Plaintiffs are amenable to discussing reasonable efforts to coordinate common aspects of

discovery, Petitioners made no effort to explore this possibility with the FTC or the NYAG prior

to filing their motion.

                      FACTUAL AND PROCEDURAL BACKGROUND

        A. The FTC/NYAG Action

        The FTC and the NYAG filed their law enforcement action in the Southern District of

New York in January 2017. The complaint alleges that Defendants made false and

unsubstantiated claims that Prevagen, a dietary supplement, improves memory and that clinical

studies proved the memory benefits. The case is brought under federal and state consumer

protection laws governing deceptive advertising. As a government law enforcement action, the



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case has no individual or class of private plaintiffs. The action is national in scope, including

New York consumers, and seeks both permanent injunctive relief to stop the deceptive ad

campaign and equitable relief, such as money for consumer redress. The case is brought in

equity, and the proceeding will be a bench trial, not a jury trial. Although formal pretrial

discovery has not yet commenced, both the FTC and the NYAG have conducted thorough

investigations prior to filing their Complaint, including reviewing some information and

documents submitted by Defendants.

       B. Racies/California Action

       The Racies putative class action was filed in January 2015 – nearly two years before the

action by the FTC and the NYAG. The Racies complaint names only one corporate defendant,

Quincy Bioscience, LLC, and no individuals, whereas the government action also names

corporate defendants Quincy Bioscience Holding Company, Inc. and Quincy Bioscience

Manufacturing, LLC, as well as individual defendants Mark Underwood and Michael Beaman.

In addition, the Racies action alleges violations of only California state law. The Racies action

challenges advertising claims about the efficacy of Prevagen, but as discussed below, the legal

basis for the case and the relief sought differ from the FTC/NYAG case and thus present a

number of different legal and factual issues. The Racies trial court ruled – almost two years ago

– to dismiss all causes of action that were premised on lack of substantiation for the memory

benefits and has limited the case to falsity allegations focusing on the mechanism of action.

Racies v. Quincy Bioscience, LLC, No. 15-cv-00292, 2015 WL 2398268 (N.D. Cal. May 19,

2015). The court also ruled that plaintiffs did not have standing under California law to seek

injunctive relief and limited potential remedies to monetary relief. Id.




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       C. Vanderwerff/New Jersey and Karathanos/New York

       The Vanderwerff and Karathanos actions are two putative class actions filed in February

2017 in the District of New Jersey and the Eastern District of New York respectively. Each

involves a national class, or alternatively a New Jersey or New York state-only class. The cases

challenge Prevagen’s advertising under New Jersey and New York consumer protection laws

available to the private parties and also include RICO charges. The New York state law cited in

both the Karathanos action and the FTC/NYAG action requires an additional element of proof in

the private action not necessary in the government’s action – namely injury in fact. Thus,

plaintiffs in the Karathanos action must prove injury in order to obtain the requested relief.

Petitioners have filed a Motion to Dismiss the Complaint in Vanderwerff, including all

substantiation counts and all injunctive remedies. Vanderwerff v. Quincy Bioscience Holding

Co., Inc. et al., No. 2:17-cv-00748, Dkt. 22 (Apr. 10, 2017). The motion has yet to be fully

briefed. The Karathanos matter has not advanced beyond the filing of the Complaint. Discovery

has not commenced in either action.

                                          ARGUMENT

        A. Legal Standard

       The presence of some common questions of fact, by itself, is not enough to justify

transfer. See In re Drowning Incident at Quality Inn Ne., Washington, D.C. on May 3, 1974, 405

F. Supp. 1304, 1306 (J.P.M.L. 1976) (common facts is but one condition precedent to transfer

under §1407). To transfer multiple cases to a single district for pretrial proceedings, this Panel

must find that: (1) there are multiple cases sharing one or more common questions of fact; (2)

transfer will be for the convenience of the parties; and (3) transfer will promote the just and

efficient conduct of the actions. 28 U.S.C. § 1407. Centralization under Section 1407 “should



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be the last solution after considered review of all other options.” In re Gerber Probiotic Prods.

Mktg. & Sales Practices Litig., 899 F. Supp 2d 1378, 1379 (J.P.M.L. 2012) (citations omitted).

Moreover, Petitioners bear a heavier burden to justify centralization where there are only a small

number of actions. In re Transocean Ltd. Sec. Litig., 753 F. Supp. 2d 1373, 1374 (J.P.M.L.

2010).

         B. Different Questions of Law and Fact Mean that Convenience and Judicial
         Economy Will Not Be Served by Centralization

         Petitioners’ motion relies heavily on the argument that, because these actions all arise out

of the same allegedly deceptive advertising campaign for Prevagen, they are sufficiently similar

to warrant centralization. Despite arising from a common ad campaign, there are fundamental

differences between the government and private actions and several issues with little or no

overlap among the cases.

         Petitioners ignore important distinctions between the FTC/NYAG government

enforcement action and the private class action lawsuits. Each of the three putative class actions

will involve discovery and pretrial briefing related to class certification – a time-consuming and

resource-intensive process that is irrelevant to the FTC/NYAG action, would unnecessarily delay

the governments’ case, and would impede the public interest designed to be served by

governmental enforcement. Petitioners’ motion asserts that the potential for conflicting or

overlapping class actions “presents one of the strongest reasons” for centralization of pretrial

proceedings. In re Plumbing Fixtures, 308 F. Supp. 242, 243-44 (J.P.M.L. 1970) (emphasis

added by Defendants’ counsel). Where all matters are class actions, centralization makes sense

to ensure consistency in class certification rulings, but certainly not here where class certification

in the three private actions would delay discovery on issues germane to the government case.




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       Defendants also ignore the fact that the plaintiffs in each action have brought their claims

under different state and federal laws, drawing on different legal theories and requiring different

elements of proof. Even where the laws appear to share common ground, the legal standards for

the government and private lawsuits are fundamentally different.

       First, the FTC and the NYAG have not asserted any claims under the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961-1968 (or any state

RICO claims). The RICO claims brought by the Vanderwerff and Karathanos plaintiffs involve

different legal elements and raise different factual issues for discovery. Among other things,

those plaintiffs must allege that a RICO predicate offense is a “but for” and proximate cause of

their injuries, and that there was a specific intent to defraud. See Hemi Group, LLC v. City of

New York, 559 U.S. 1, 9 (2010) (noting requirement to show that RICO offense was a proximate

cause of plaintiff’s injury); Eclectic Properties East, LLC v. Marcus & Millichap Co., 751 F.3d

990, 997 (9th Cir. 2014) (noting that specific intent to defraud is an element of the mail and wire

fraud statutes). In contrast, the claims asserted by the FTC and the NYAG require neither a

showing of causation nor of intent. See, e.g., FTC v. Five-Star Auto Club, 97 F. Supp. 2d 502,

535 (S.D.N.Y. 2000); FTC v. Verity Int’l, Ltd., 443 F.3d 48, 63 (2d Cir. 2006); People v. Apple

Health & Sports Clubs, Ltd., 206 A.D.2d 266, 267 (N.Y. App. Div. 1st Dep’t 1994), appeal

denied, 84 N.Y.2d 1004 (N.Y. 1994); State v. Ford Motor Co., 136 A.D.2d 154, 158 (N.Y. App.

Div. 3d Dep’t 1988), aff’d, 74 N.Y.2d 495 (N.Y. 1989); People v. Gagnon Bus Co. Inc., 30 Misc.

3d 1225(A) (N.Y. Sup. Ct. Queens Cnty. 2011); People v. Am. Modification Agency. Inc., 2010

N.Y. Misc. LEXIS 2433 (N.Y. Sup. Ct. N.Y. Cnty. 2010).




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       In addition, neither the FTC nor the NYAG is required to prove individual consumer

injury to state a claim for relief.1 See, e.g., FTC v. Freecom Communs. Inc., 401 F.3d 1192,

1203 (10th Cir. 2005) (“Neither proof of consumer reliance nor consumer injury is necessary to

establish a §5 violation.”); FTC v. Consumer Health Benefits Ass’n, 2012 U.S. Dist. LEXIS

7261, at *18 (E.D.N.Y. 2012); Apple Health & Sports Clubs, 206 A.D.2d at 267; Ford Motor

Co., 136 A.D.2d at 158; see also People v. Applied Card Sys., Inc., 27 A.D.3d 104, 107 (N.Y.

App. Div. 3d Dep’t 2005), aff’d on other grounds, 11 N.Y.3d 105 (N.Y. 2008); People v. Gen.

Elec., 302 A.D.2d 314, 314 (N.Y. App. Div. 1st Dep’t 2003).

       Further, the FTC and the NYAG have authority to obtain injunctive relief, pursuant to

Section 13(b) of the FTC Act, 15 U.S.C. 53(b), New York Executive Law § 63(12), and New

York General Business Law § 349(b), while the court in Racies dismissed this remedy, and

Petitioners are seeking dismissal in the Vanderwerff matter.

       Moreover, unlike the Karathanos and Vanderwerff litigants, the FTC and the NYAG may

– and do – seek disgorgement of ill-gotten monies as an equitable remedy. See FTC v. Bronson

Partners, LLC, 654 F.3d 359, 372 (2d Cir. 2011) (“[D]isgorgement is a distinctly public-

regarding remedy, available only to government entities seeking to enforce explicit statutory

provisions.”); FTC v. Gem Merchandising Corp., 87 F.3d 466, 470 (11th Cir. 1996) (Section

13(b) of the FTC Act entitles the agency to seek disgorgement to “deprive the wrongdoer of his

ill-gotten gain”); People v. Ernst & Young, 114 A.D.3d 569, 569-70 (N.Y. App. Div. 1st Dep’t

2014) (noting that “where . . . there is a claim based on fraudulent activity, disgorgement may be



1
 By contrast, private litigants asserting claims under New York, New Jersey, and California
consumer protection statutes must show injury. See, e.g., New York General Business Law §
349(h) (allowing only an “injured” person to bring an action for § 349 violations); Cal. Civ.
Code § 1780(a) (allowing suit by a “consumer who suffers damage”); N.J.S.A. 56:8-19 (allowing
suit by a “person who suffers any ascertainable loss of moneys or property, real or personal”).
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available as an equitable remedy, notwithstanding the absence of loss to individuals or

independent claims for restitution”) (citing Applied Card Sys., 11 N.Y.3d, at 125-26); People v.

Greenberg, 2014 N.Y. Misc. LEXIS 2377, at *2-*3 (N.Y. Sup. Ct. N.Y. Cnty. May 28, 2014),

aff’d, 2015 N.Y. App. Div. LEXIS 3206 (N.Y. App. Div. 1st Dep’t 2015).

       Finally, unlike the private litigants, the NYAG seeks civil penalties, which the NYAG is

uniquely entitled to seek under New York General Business Law §§ 349 and 350. New York

General Business Law § 350-d (providing for civil penalties in amount up to $5,000 for each

violation).

       The legal theories underlying the FTC/NYAG and Racies deceptive advertising

allegations also differ, raising different factual issues for discovery.2 The FTC/NYAG

allegations will focus primarily on the lack of substantiation for the memory claims. Plaintiffs

will seek to show that: (1) Defendants made deceptive representations by failing to have

adequate scientific support that Prevagen could improve memory; and (2) given the lack of

substantiation, Defendants falsely claimed that Prevagen’s efficacy is clinically proven. Thus,

the key question is whether Defendants possess competent and reliable scientific evidence – in

other words, whether well-designed and implemented neuro-cognitive testing demonstrates that

taking Prevagen results in a statistically significant improvement in memory over placebo. In

contrast, Plaintiffs in the Racies action must prove falsity – an analysis that is very different from

proving lack of substantiation and focuses largely on the underlying chemical/pharmacological

mechanism of action.

2
 Although the FTC and the NYAG assert different consumer protection statutes, New York
General Business Law § 349 is modeled on Section 5 of the FTC Act, see Oswego Laborers’
Local 214 Pension Fund v. Marine Midland Bank, N.A., 85 N.Y.2d 20, 26 (N.Y. 1995), and thus
court determinations as to whether particular acts or practices fall within the FTC Act’s
prohibition against “unfair or deceptive acts or practices” are relevant to New York deceptive
practice claims.
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       The filing of actions under multiple and disparate laws has been repeatedly cited by the

Panel as a reason to deny centralization. See, e.g., In re Ariz. Bev. Co. Prods. Mktg. & Sales

Practices Litig., 609 F. Supp. 1369 (J.P.M.L. 2009) (Panel denied centralization of three class

actions involving deceptive marketing, in part because “common legal issues do not

predominate, as plaintiffs’ claims are brought under the laws of their respective states.”); In re

Emergency Helicopter Air Ambulance Rate Litig., 2017 U.S. Dist. LEXIS 15932 (J.P.M.L. 2017)

(centralization denied in part because the four complaints asserted claims under different state

laws). In ruling against centralization of six actions pending in six districts, the Panel explained

their reasoning as follows: “Centralization may not prevent either conflicting or multiple rulings,

because plaintiffs bring their claims under the laws of different states. Under some state laws,

the state of mind or reliance by individual purchasers may be a critical factor, in others it may

not.” In re: Skinnygirl Margarita Bev. Mktg. & Sales Practices Litig., 829 F. Supp. 2d 1380,

1381 (J.P.M.L. 2011). As in the Skinnygirl matter, all of the actions in this matter involve

disparate statutes with variations in the basic elements of proof.

       C. Given the Substantial Differences in Procedural Stages of the Proceedings,
       Centralization is Unlikely to Reduce Discovery Burdens or Otherwise Promote
       Convenience or Judicial Economy

       The Panel generally disfavors centralization of actions that are not all in the initial phases

of discovery and motion practice, especially where one or more actions is well ahead of the

others. There are significant differences in the development and procedural phases of the four

actions here that detract from the MDL goal of minimizing discovery burdens and promoting

convenience and judicial economy.

       The Racies case was filed two years prior to the other actions and is far more advanced.

Substantial factual and expert discovery has occurred; motions for partial summary judgment



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have been filed by both parties and ruled on by the court; Daubert motions were also filed; and a

schedule has been set for briefing of class certification.

       In the FTC/NYAG action, Defendants have already filed motions to dismiss, and the

briefing will be completed before the Panel’s hearing on the MDL motion. In addition, both the

FTC and the NYAG have already conducted investigations prior to filing the complaint.

Although further discovery will be necessary, especially with respect to expert discovery and fact

depositions, the materials and information already produced during the investigation will reduce

the types and quantity of discovery that Defendants are required to produce in the government

action. Such pre-complaint investigation is relevant to the Panel’s assessment of whether cases

are at different stages. See, e.g., In re McNeil Consumer Healthcare, et al., Mktg. and Sales

Practices Litig. (May 20, 2011 Order Vacating Conditional Transfer Order) (MDL No. 2190)

(Panel ruled against adding state attorney general’s action to an existing MDL of nine private

actions, in part because the state had already conducted substantial discovery during its pre-filing

investigation).

       In contrast, the Vanderwerff and Karathanos actions are still in their infancy. No

discovery has occurred and no schedule has been set. Time-consuming class certification

discovery, briefing, and a determination of whether to certify a class has yet to occur. See Fed.

R. Civ. P. 23(c)(1)(A) (“At an early practicable time after a person sues or is sued as a class

representative, the court must determine by order whether to certify the action as a class

action.”). Any efficiencies of combining cases at such dissimilar stages of development would

be minimal.

       The Panel has repeatedly ruled against centralization under such circumstances. For

example, the Panel found that significant discovery progress in one of the actions outweighed the



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fact that all three actions challenged the same deceptive advertising for Colgate toothpaste and

“undoubtedly involved common factual issues.” In re Colgate Optic White Toothpaste Mktg. &

Sales Practices Litig., 2016 U.S. Dist. LEXIS 138874, at *2 (J.P.M.L. Oct. 4, 2016). Even a

matter involving 25 “highly similar” actions about negative side effects of the drug Cymbalta did

not warrant centralization given the different procedural posture of the cases. In re Cymbalta

(Duloxetine) Prods. Liab. Litig., 65 F. Supp. 3d 1393, 1394 (J.P.M.L. 2014) (“Cymbalta I”). The

Cymbalta I ruling focused on the fact that the three earliest cases had been filed a year before the

others and the discovery that had occurred in those cases had been substantial, including a

30(b)(6) deposition and large document production. In contrast, the other cases were all “still in

their infancy.” Id. The panel revisited and again denied centralization the next year even though

the number of actions had grown from 25 to 41. In re Cymbalta II, 138 F. Supp. 3d 1375

(J.P.M.L. 2015); see also In re Sirius XM Radio, Inc. Tel. Consumer Prot. Act (TCPA) Litig., 118

F. Supp. 3d 1376 (J.P.M.L. 2015) (denying centralization of five actions in four courts where one

action was “significantly advanced, with fact and expert discovery completed and class

certification briefing poised to commence” while all other actions were in their initial stages).

       D. Given the Small Number of Cases, Centralization is Neither Necessary nor
       Warranted

       Petitioners have completely failed to meet their burden to justify why the “last solution” –

a formal Section 1407 transfer – is the only viable solution in this matter, particularly where so

few actions are involved. Best Buy Co., Inc., 804 F. Supp. 2d 1376, 1378 (J.P.M.L. 2011)

(Centralization should be granted only after “considered review of all other options.”); see also

Transocean, 753 F. Supp. 2d at 1374 (denying centralization of two actions); In re Royal Am.

Indus., Inc. Sec. Litig., 407 F. Supp. 242, 244 (J.P.M.L. 1976) (same); In re Scotch Whiskey

Antitrust Litig., 299 F. Supp. 543, 544 (J.P.M.L. 1969) (same).

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       Many of the cases Petitioners cite to justify centralization involve matters with a

relatively small number of actions, but are distinct from this case in that all parties agreed to

centralization. See, e.g., In re Wesson Oil Mktg. & Sales Practices Litig., 818 F. Supp. 2d 1383

(J.P.M.L. 2011) (transfer granted for six actions in two districts with all parties supporting

centralization); In re Simply Orange Juice Mktg. & Sales Practices Litig., 867 F. Supp. 2d 1344

(J.P.M.L. 2012) (transfer granted for two actions and potentially five tag-along actions in six

courts with all parties supporting centralization); In re McDonald’s French Fries Litig., 444 F.

Supp. 2d 1342, 1342 (J.P.M.L. 2006) (transfer granted where all parties to six actions agreed not

only on centralization, but also on the choice of court). The parties in this matter, however, are

not in agreement. The Vanderwerff and Karathanos Plaintiffs have already filed their

opposition, and we understand that the Racies Plaintiffs also will oppose transfer. The fact that

plaintiffs in all four actions oppose centralization is a valid consideration for the Panel. See, e.g.,

Skinnygirl, 829 F. Supp. at 1381 (“[T]hat all defendants uniformly oppose centralization is a

factor which is quite influential where other factors do not favor centralization.”).

       E. Informal Cooperation is Not Necessary, but is a Preferable Alternative to
       Formal Centralization

       Underlying every analysis of the criteria for and against Section 1407 centralization is the

question of whether informal coordination is a feasible and preferable option, especially where

there are only a few actions in a few courts and where, as here, three of the four cases are

pending in courts in geographic proximity. In re Comcast Corp. Empl. Wage & Hour Empl.

Practices Litig., 190 F. Supp. 3d 1344, 1345 (J.P.M.L. 2016) (denying transfer of 19 actions

involving a compensation dispute by cable technicians where the cases were all pending before




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three judges in three adjacent districts of California, noting that voluntary cooperation and

coordination or transfer pursuant to 28 U.S.C. § 1404 were preferable alternatives).3

       Here, the significant legal, factual and procedural differences between the private class

actions and governmental enforcement action brought by the FTC and the NYAG, as well as

consideration of the public interest to be served by the governmental enforcement action, militate

against the need for either centralization or informal cooperation. Moreover, Petitioners’ counsel

never reached out to either the FTC or the NYAG to discuss any concerns they may have about

overlapping discovery or to request voluntary coordination. Nevertheless, the FTC and NYAG

remain willing to discuss the extent to which opportunities may exist for informal cooperation

among the parties.

                                         CONCLUSION

       For the reasons stated above, the Federal Trade Commission and the People of the State

of New York by the Attorney General of New York respectfully request that the Panel deny

Petitioners’ Motion for Transfer to the extent that it seeks consolidation of the FTC/NYAG

action with the private actions. Should this Panel nevertheless conclude that centralization is




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  The partial overlap of counsel should also make informal cooperation easier. The Karathanos
and Vanderwerff Plaintiffs are represented by the same counsel, and there is also overlap in
Defendants’ counsel between at least one of these two actions and the FTC/NYAG joint action.
See, e.g., In re Lipitor (Atorvastatin Calcium), Mktg. Sales Practices & Prods. Liab. Litig., 959
F. Supp. 2d 1375, 1376 (J.P.M.L. 2013) (denying transfer due to limited number of actions
involved and the overlap among some counsel).
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necessary, the FTC and the NYAG do not object to Petitioners’ request that the matters be

centralized in the Southern District of New York.



                                            Respectfully submitted,

                                            FEDERAL TRADE COMMISSION
                                            DAVID C. SHONKA
                                            Acting General Counsel
                                            Federal Trade Commission


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